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                                        of 35)
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                                                                                      Oct 31, 2017

                               UNITED STATES DISTRICT COURT                                  MIAMI
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

   TTT Foods Holding Company LLC,
   a Florida limited liability company,
                   Plaintiff,
   v.                                                  Case No.: 9:16-cv-81798-DMM

   BEATRICE NAMM, an individual,
   JONATHAN NAMM, an individual, and
   DELUXE GOURMET SPECIALTIES LLC,
   a New Jersey limited liability company,
                  Defendants.
   ____________________________________/

                                          NOTICE OF APPEAL

          NOTICE IS HEREBY GIVEN that the Defendants, BEATRICE NAMM, JONATHAN

   NAMM, and DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited liability

   company, by and through their undersigned attorney, hereby appeal to the United States Court of

   Appeals for the Eleventh Circuit from the Final Judgment (DOC 98) entered on October 2, 2017,

   and the Order on Plaintiff's Motion for Summary Judgment (DE 87) entered on May 19, 2017.

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 27, 2017, I sent a true and correct copy of the
   foregoing by E-mail delivery to John E. Page, counsel for Plaintiff (jpage@sflp.law) and Bernice
   C. Lee, counsel for Plaintiff (blee@sflp.law).

                                                       /s/ Agustin R. Benitez
                                                       AGUSTIN R. BENITEZ, ESQUIRE
                                                       BENITEZ LAW GROUP, P.L.
                                                       Florida Bar # 278130
                                                       1223 East Concord Street
                                                       Orlando, Florida 32803
                                                       (407) 894-5000
                                                       (407) 896-8061 (fax)
                                                       Primary E-Mail: Service@ARBenitez.com
                                                       Secondary E-Mail: Gus@ARBenitez.com




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                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

   David J. Smith                                                                        For rules and forms visit
   Clerk of Court                                                                        www.ca11.uscourts.gov


                                             October 31, 2017

   Agustin Rafael Benitez
   Benitez & Butcher, PA
   1223 E CONCORD ST
   ORLANDO, FL 32803-5408

   Appeal Number: 17-14827-A
   Case Style: TTT Foods Holding Company, LLC v. Beatrice Namm, et al
   District Court Docket No: 9:16-cv-81798-DMM

   This Court requires all counsel to file documents electronically using the Electronic Case
   Files ("ECF") system, unless exempted for good cause.

   The referenced case has been docketed in this court. Please use the appellate docket number
   noted above when making inquiries.

   Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
   this court or for this particular proceeding pursuant to 11th Cir. R. 46-1. In addition, all attorneys
   (except court-appointed counsel) who wish to participate in this appeal must complete and return
   an appearance form within fourteen (14) days. Application for Admission to the Bar and
   Appearance of Counsel Form are available on the Internet at www.ca11.uscourts.gov. The clerk
   may not process filings from an attorney until that attorney files an appearance form. See 11th
   Cir. R. 46-6.

   11th Cir. R. 33-1(a) requires appellant to file a Civil Appeal Statement in most civil appeals. You
   must file a completed Civil Appeal Statement, with service on all other parties, within 14 days
   from the date of this letter. Civil Appeal Statement forms are available on the Internet at
   www.ca11.uscourts.gov, and as provided by 11th Cir. R. 33-1(a).

   Every motion, petition, brief, answer, response and reply filed must contain a Certificate of
   Interested Persons and Corporate Disclosure Statement (CIP). Appellants/Petitioners must file a
   CIP within 14 days after the date the case or appeal is docketed in this court;
   Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after the case or
   appeal is docketed in this court, regardless of whether appellants/petitioners have filed a CIP. See
   Fed.R.App.P. 26.1 and 11th Cir. R. 26.1-1.

   On the same day a party or amicus curiae first files its paper or e-filed CIP, that filer must also
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   complete the court's web-based CIP at the Web-Based CIP link on the court's website. Pro se
   filers (except attorneys appearing in particular cases as pro se parties) are not required or
   authorized to complete the web-based CIP.

   Pursuant to Eleventh Circuit Rule 42-1(b) you are hereby notified that upon expiration of (14)
   days from this date, this appeal will be dismissed by the clerk without further notice unless the
   default(s) noted below have been corrected:

   File a Transcript Information Form, as required by Fed.R.App.P. 10(b)(1); a Transcript
   Information Form is available from the district court clerk. Appellant is required to file and serve
   copies of the form in accordance with the instructions included on the form. UNLESS A
   TRANSCRIPT IS ORDERED, APPELLANT'S BRIEF MUST BE SERVED AND FILED
   WITHIN 40 DAYS FROM October 27, 2017. See 11th Cir. R. 12-1 and 31-1.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Denise E. O'Guin, A
   Phone #: (404) 335-6188

                                                                    DKT-2 Appeal WITH Deficiency
